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                         UNITED STATES BANKRUPTCY COURT
                                     FOR THE
                          WESTERN DISTRICT OF KENTUCKY

      IN RE:                                        )
                                                    )
      FREEMAN ANDREW HARDIN                         )       CASE NO. 15-33081
      Debtor                                        )       Chapter 7
      ______________________________                )

                                 TRUSTEE’S STATUS REPORT

               In compliance with this Court’s Order entered August 21, 2018, Wm.
      Stephen Reisz, trustee, and respectfully files this Status Report.

               Trustee is in the process of preparing three adversary proceedings which
      will seek to avoid transfers made by Debtor shortly before his filing bankruptcy
      and also will seek a declaration by this Court that the transfers were sham
      transactions and that the properties remain property of Debtor and now property
      of this estate.

                                                    Respectfully submitted,

                                                      /s/ Wm. Stephen Reisz
                                                    Wm. Stephen Reisz, trustee
                                                    401 W. Main St., Ste 1400
                                                    Louisville, KY 40202
                                                    (502) 584-1000

                                    CERTIFICATE OF SERVICE
              I hereby certify that a copy of the foregoing was on September 20, 2018
      sent electronically through the US Bankruptcy Court’s ECF system at the electronic
      addresses set forth in the ECF system to all other parties receiving electronic
      notifications in this case.

                                                     /s/ Wm. Stephen Reisz
                                                    Wm. Stephen Reisz
